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 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                         Southern District of Georgia

                   United States of America                          )
                                  V.                                 )
                                                                     )  Case No: CR696-00004-010
                          Willie Outlet
                                                                     ) USM No: 09130-021
Date of Previous Judgment: October 8 1996                            ) Kathy Stephens Palmer
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Auorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant      the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
             DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             thelast judgment issued) of __________________ months is reduced to ___________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        36               Amended Offense Level:       34
Criminal History Category:      I               Criminal History Category:    I
Previous Guideline Range:  240    months        Amended Guideline Range: 240    months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
  The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
  Other (Lxplaln)




III. ADDITIONAL COMMENTS: Despite the amendment to the crack cocaine guideline, the fendantstiII faés
a statutorily required minimum sentence of twenty years.

Except as provided above, all provisions of the judgment dated October 8, 1996,                        shall remain in effect.
IT IS SO ORDERED.                                                                                                       7
Order Date:         March 13, 2008                                           /4

                                                                         B. Avant Edenfield
                                                                         United States District Judge
Effective Date: _______________________                                  For the Southern District of Georgia
                     (if different from order date)                                          Printed name and title
